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Pro Se 14(Rev. 12/16) Complaint for Vioiation oFCivil Rights (Prisoner)


                                                                                                                           FVJED
                                        United States District Court u.s.ri Tr.i-T court
                                                                                                                                      Di v'.
                                                                           for the

                                                                          District of                            2021 FEu 12 P t* 38
                                                                                 Division                     CLER'I
                                                                                                                     su. uis I. or G.''..

                                                                                        Case No.
                                                                                                   2:21-cv-16
                                                                                                   (to befilled in by the Clerk's Office)

                             Plamtiff(s)
(Write thefull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                                                                         Ml
                                 -V-




                            Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotJit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames. Do not include addresses here.)



                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                              (Prisoner Complaint)


                                                                          NOTICE


    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting fi-om public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




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I.        The Parties to This Complaint

          A.         The PIaintiff(s)


                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                           Name

                           All other names by which
                           you have been known:                                  hj i A
                           ID Number
                           Current Institution
                           Address

                                                                                                                            I\
                                                                                         City           Stale              Zip Code


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                     listed below are identical to those contained in the above caption. For an individual defendant, include
                     the person's job or title (ifknown) and check whether you are bringing this complaint against them in their
                     individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1

                           Name

                           Job or Title (ifknown)
                           Shield Number                                         \J'>A

                           Employer
                           Address

                                                                                                         C>'V
                                                                               y*        City           State              Zip Code
                                                                          -a
                                                                               Individual capacity □ Official capacity

                     Defendant No. 2
                           Name

                           Job or Title (ifknown)
                           Shield Number

                           Employer
                           Address


                                                                                         City           State              Zip Code

                                                                          I I Individual capacity      Official capacity
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                     Defendant No. 3
                           Name

                           Job or Title (ifknown)
                           Shield Number
                           Employer
                           Address


                                                                                    City              State             Zip Code
                                                                          □ Individual capacity   □ Official capacity

                     Defendant No. 4
                           Name

                           Job or Title (if known)
                           Shield Number

                           Employer
                           Address


                                                                                    City              State             Zip Code

                                                                          □ Individual capacity   □ Official capacity
n.        Basis for Jurisdiction


          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constimtional rights.

          A.         Are you bringing suit against (check all that apply):

                     □ Federal officials (a Bivens claim)
                     rn^tate or local officials (a § 1983 claim)
          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights] If you
                     are suing under 5/ven.y, what constitutional right(s) do you claim is/are being violated by federal
                     officials?
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          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.




m.        Prisoner Status
                                                                               t<-yAK[    C^c,.v>
          Indicate-whether you are a prisoner or other confined person as follows (check all that apply):
          LJ         Pretrial detainee

          □           Civilly committed detainee
          □           Immigration detainee
          □           Convicted and sentenced state prisoner
          □           Convicted and sentenced federal prisoner
          □           Other (explain)
IV.      Statement of Claim


         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.          If the events giving ri se to your claim arose outside an institution, describe where and when they arose.




                                           kmA
         B.          If the events giving rise to your claim arose in an institution, describe where and when they arose.
                                                                          CD
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             C.          What date and approximate time did the events giving rise to your claim(s) occur?




             D.          What are the facts underlying your claim(s)?   ejcamp/e; What happened to you? Whodidwhat?
                         Was anyone else involved? Who else saw what happened?)




    V.       Injuries

             If you sustained injuries related to the events alleged above, describe your injuries and state what medical
             treatment, if any, you required and did or did not receive.




                                             AHA

    VI.      ReUef


             State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
             Ifrequesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
             the acts alleged. Explain the basis for these claims.




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VII. Exhaustion of Administrative Remedies Administrative Procedures

        The Prison Litigation Reform Act("PLRA"),42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
        with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confmed
        in any jail, prison, or other correctional facility until such administrative remedies as are available are
        exhausted."


        Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
        exhausted your administrative remedies.


        A.        Did youpelaim(s) arise while you were confined in a jail, prison, or other correctional facility?

                       Yes


                 □ No
                  If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                  events giving rise to your claim(s).




        B.        Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                  procedure?




                 □ No
                 □ Do not know

        C.        Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                  cover some or all of your claims?

                       Yes


                 □ No
                  □ Do not know
                  If yes, which claim(s)?
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         D.           Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                             Yes


                      □ No
                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                      I I Yes

                      O No

         E.           If you did fi le a grievance:

                      L     Where did you file the grievance?




                     2.     What did you claim in your grievance?


                                    A\(           OCii '-L, S
                                                           (k,'\sisL^                                  H r)c'>                 j
                                                                             do
                     3.     What was the result, if any?                              '




                                                              CiL-<Nf.v^
                     4.     What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                            not, explain why not. (Describe all ejforts to appeal to the highest level of the grievance process.)
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         F.          If you did not file a grievance:

                      1. If there are any reasons why you did not file a gi-ievance, state them here:




                                             Ll{(^
                     2. If you did not file a grievance but you did inform officials of your claim, state who you informed,
                           when and how,and their response, if any:




                                                 ^ll\

         G.          Please set forth any additional information that is relevant to the exhaustion of your administrative
                     remedies.




                     (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                     administrative remedies.)

VIII. Previous Lawsuits


         The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
         the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
         brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
         malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
         danger of serious physical injury." 28U.S.C. § 1915(g).

         To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?



         □ no

         If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.



               ^                             C\Vu"V           Cp                                              C\ i'1.
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                           of Civil Rights(Prisoner)



 A.    Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
       action?


       r~l Yes
            No



B.     If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (Ifthere is
       more than one lawsuit, describe the additional lawsuits on another page, using the sameformat.)
                                                                                     /'


       1. Parties to the previous lawsuit                                        /
           Plaintiff(s)
           DefendaiJt(s)

      2. Court(iffederal court, name the district; ifstate court, name the county and State)


      3.   Docket or index number




      4. Name of Judge assigned^t^^yo^ case


      5. Approximate date of filing lawsuit



      6. Is the case still pending?

           I I Yes
           □ no
           If no, give the app^^imate date of disposition.
      7. What was the resdlt of the case? (For example: Was the case dismissed? Wasjudgment entered
         in yourfavor?/Was the case appealed?)                               \




C.    Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
      imprisonment?
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                     I I Yes
                     CTno

         D.          If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (Ifthere i
                     more than one lawsuit, describe the additional lawsuits on another page, using the sameformat.)

                     1. Parties to the previous lawsuit
                           Plaintiff(s)
                           DefeDdant(s)


                     2. Court(iffederal court, name the district; ifstate court, name the county and State)




                     3.   Docket or index number




                    4, Name ofJudge assigned to your case



                    5. \Approximate date of filing lawsuit



                    6. Is the case still pending?

                          I I Yes
                          □ no
                          If no, give the approxi                te of disposition

                    7. What was the result^Of the case? (Fot^example: Was the case dismissed? Wasjudgment entered
                          in your favor? Was the case appealed?)
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IX.       Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and(4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a ciurent address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date ofsigning:


                     Signature ofPlaintiff
                     Printed Name of Plaintiff

                    Prison Identification #

                    Prison Address

                                                             /OvMA       r                  G-iir
                                                                         City              Stale          Zip Code


         B.          For Attorneys

                     Date of signing:


                    Signature of Attomey
                    Printed Name of Attomey
                    Bar Number

                    Name of Law Firm

                     Address


                                                                         City              State          Zip Code
                    Telephone Number
                    E-mail Address
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